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     Attorneys for Plaintiffs
 7   Danielle Hubmer, Kelly Schwalbach, and Angela O’Brien
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10
                                  UNITED STATES DISTRICT COURT
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12             CENTRAL DISTRICT OF CALIFORNIA, EASTERN DISTRICT
13
     DANIELLE HUBMER, Individually and           Case No. 5:20-CV-01369-JGB-KK
14
     on Behalf of All Others Similarly
15   Situated,                                   Assigned to the Hon. Jesus G. Bernal
16
                     Plaintiff,                  JOINT STIPULATION TO DISMISS
17                                               THE ENTIRE CASE WITH
             vs.                                 PREJUDICE
18
                                                 (FRCP RULE 41(a)(1)(A)(ii))
19   WALMART, INC.; and Does 1-100,
20
                     Defendants.
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                                                                           JOINT STIPULATION
                                                                Case No. 5:20-CV-01369-JGB-KK
     LEGAL02/41573274v1
Case 5:20-cv-01369-JGB-KK Document 47 Filed 04/22/22 Page 2 of 3 Page ID #:730



 1   TO THE HONORABLE COURT:
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 3           Plaintiffs Danielle Hubmer, Kelly Schwalbach, and Angela O’Brien
 4   (“Plaintiffs”) and Defendant WALMART, Inc. (“Walmart”), by and through their
 5   respective counsel of record, hereby enter into this stipulation to dismiss the entire
 6   case, with prejudice, pursuant to F.R.C.P. Rule 41(a)(1)(A)(ii). Each party shall bear
 7   its own costs and fees.
 8   SO STIPULATED.
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10
     DATED: April 22, 2022            LEGAL GP

11                                           /s/Mitch Kalcheim
12
                                             Mitch Kalcheim
                                             Attorneys for Plaintiffs Danielle Hubmer, Kelly
13                                           Schwalbach, and Angela O’Brien
14

15    DATED: April 22, 2022                ALSTON & BIRD LLP
16

17                                         /s/ Rachel E. K. Lowe
                                           Jeffrey A. Rosenfeld
18                                         Rachel E. K. Lowe
                                           Attorneys for Defendant
19                                         WALMART INC.
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                                                                             JOINT STIPULATION
     LEGAL02/41573274v1
Case 5:20-cv-01369-JGB-KK Document 47 Filed 04/22/22 Page 3 of 3 Page ID #:731



 1                                 Local Rule 5-4.3.4(a)(2)(i) Certification
 2           Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer of this document attests that concurrence in

 3   the filing has been obtained from each of the other signatories.

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 5                                                           /s/ Rachel E. K. Lowe
                                                             Rachel E. K. Lowe
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